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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

 

 

Constance Collins, et al %
Planntifg,
¥. Case No. 1:20-cv-01225
TRI-STATE ZOOLOGICAL PARK OF *
WESTERN MARYLAND, INC., et al.
Defendant. **

MOTION FOR ADMISSION PRO HAC VICE
1, Nevin L. Young , am a member in good standing of the bar of this

Court. Iam moving the admission of John M. Pierce

to appear pro hac vice in this case as counsel for All Defendants

We certify that:

1. The proposed admittee is not a member of the Maryland bar and does not maintain
any law office in Maryland

2. The proposed admittee is a member in good standing of the bars of the following
State Courts and/or United States Courts:

State Court & Date of Admission U.S. Court & Date of Admission
California - 2007 CDCAL - 2007

 

 

 

 

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During the twelve months immediately preceding this motion, the proposed admittee
has been admitted pro hac vice in this Court © time(s).

4. The proposed admittee has never been disbarred, suspended, or denied admission to
practice law in any jurisdiction. (NOTE: If the proposed admittee has been
disbarred, suspended, or denied admission to practice law in any jurisdiction, then
he/she must submit a statement fully explaining all relevant facts.)

5. The proposed admittee is familiar with the Maryland Attorneys’ Rules of Professional
Conduct, the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the
Federal Rules of Appellate Procedure, and the Local Rules of this Court, and
understands he/she shall be subject to the disciplinary jurisdiction of this Court.

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6. The proposed admittee understands admission pro hac vice is for this case only and
does not constitute formal admission to the bar of this Court.

7. Either the undersigned movant or

 

is also a member of the bar of this Court in good standing, and will serve as co-

counsel in these proceedings.

8. The $100.00 fee for admission pro hac vice accompanies this motion.

9. We hereby certify under penalties of perjury that the foregoing statements are true

and correct.

Signature -
Nevin L. Young

Printed name and bar number

Law Office of Nevin L. Young

Office name

 

 

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PH VMotion (12/2018)

PROPOSED ADMITTEE

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Signature

John M. Pierce

Printed name

Pierce Bainbridge P.C.

Office name

 

 

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